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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR231
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
MICHAEL B. WRIGHT,                                )
                                                  )
                     Defendant.                   )


        This matter is before the court on the motion of Steven S. Chase, CJA, to withdraw
as counsel for the defendant, Michael B. Wright [38]. For good cause shown, the motion
will be granted and the court will appoint substitute counsel, Paul M. Gnabasik.

      Because the defendant is scheduled to be sentenced on November 6, 2006, the
court will follow the current procedure of payment to CJA counsel and will deny Mr.
Chase's Motion for Early Payment [39].

       IT IS ORDERED:

       1. The Motion to Withdraw [38] is granted. Steven S. Chase shall be deemed
withdrawn as attorney of record and shall forthwith provide Paul Gnabasik with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. Chase which are material to the defendant’s defense.

      2. Paul M. Gnabasik is appointed as attorney of record for the above-named
defendant pursuant to 18 U.S.C. §3006A(f).

       3. To facilitate this appointment, the Federal Public Defender's Office shall forthwith
provide the court with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district. The Clerk shall provide a copy of this order
to the Federal Public Defender for the District of Nebraska.

       4. The Motion for Early Payment [39] is denied.

       DATED October 6, 2006.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
